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CIDA action and all claims in the ACC action, without admission of any issue of fact or law,

except as expressly provided herein;

       WHEREAS, the Parties consider this Consent Decree to be an adequate and equitable

resolution of Claims 21 and 22 of the CIDA action and all claims in the ACC action;

       WHEREAS, the Court, by entering this Consent Decree, finds that the Consent Decree

is fair, reasonable, in the public interest, and consistent with TSCA, 15 U.S.C. §§ 2601–2697;

       NOW THEREFORE, before the taking of testimony, without trial or determination of

any issue of fact or law, and upon the consent of the Parties, it is hereby ORDERED,

ADJUDGED, and DECREED that:

1.     EPA shall (a) transmit a notice of availability of final risk evaluation for DIDP to the

       Office of the Federal Register by no later than December 31, 2024; and (b) transmit a

       notice of availability of final risk evaluation for DINP to the Office of the Federal

       Register by no later than January 15, 2025;

2.     In accordance with the Court’s Standard Order for Civil Cases, ECF No. 8, and except

       as provided in Paragraph 12 below, extension of a deadline set forth herein may be

       effectuated only by the Court following motion of any Party to this Consent Decree,

       pursuant to the Federal Rules of Civil Procedure and Local Rules, and upon

       consideration of any response by the non-moving Party.

3.     If EPA anticipates that it is reasonably likely to fail to meet any deadline set forth herein

       for any reason other than for a lapse of appropriations, which shall automatically extend

       deadlines as set forth in Paragraph 12 below, EPA shall contact Plaintiffs and the Parties

       shall confer about the reason for the delay and the terms of a possible joint motion to

       extend the deadline.



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4.   If the Parties are unable to reach agreement on a joint motion, EPA shall file a motion to

     extend a deadline set forth herein, as soon as possible after concluding that a deadline

     extension is necessary.

5.   The Parties shall not challenge the terms of this Consent Decree or this Court’s

     jurisdiction to enter and enforce this Consent Decree.

6.   The deadline for filing a motion for costs of litigation, including attorneys’ fees,

     incurred prior to entry of this Consent Decree is hereby extended until sixty (60) days

     after the entry of this Consent Decree by this Court. During this time, the Parties shall

     seek to resolve informally any claim for costs of litigation, including attorneys’ fees, and

     if they cannot, will submit that issue to this Court for resolution. The United States does

     not waive or limit any defenses it may have to such claim. This Court shall retain

     jurisdiction to resolve any requests for costs of litigation, including attorneys’ fees.

7.   The Parties agree that this Consent Decree constitutes a complete and final settlement,

     under any provision of law, of all claims that the ACC Plaintiffs have asserted against

     the United States, including EPA, in connection with the ACC action, ACC v. EPA,

     Civil Case No. 1:23-cv-03726 (D.D.C.), except as provided in Paragraph 6 of this

     Consent Decree. The Parties further agree that this Consent Decree constitutes a

     complete and final settlement, under any provision of law, of Claims 21 and 22 that the

     CIDA Plaintiffs have asserted against the United States, including EPA, in connection

     with the CIDA action, Community In-Power and Development Association Inc. v. Regan

     et al., Civil Case No. 1:23-cv-02715 (D.D.C.). All Plaintiffs therefore discharge and

     covenant not to sue the United States, including EPA, for any such claims.

8.   Nothing in this Consent Decree shall be construed to limit or modify any discretion



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      accorded to EPA by TSCA or by general principles of administrative law in taking the

      actions that are the subject of this Consent Decree, including discretion to alter, amend,

      or revise any final action contemplated by this Consent Decree. EPA’s obligation to

      perform the actions specified in Paragraph 1 of this Consent Decree by the deadlines

      specified therein does not constitute a limitation or modification of EPA’s discretion

      within the meaning of this paragraph.

9.    Nothing in this Consent Decree shall be construed as an admission of any issue of fact or

      law nor as a waiver or limitation regarding any claim or defense, on any grounds, related

      to any final action EPA may take with respect to the risk evaluations for DIDP and

      DINP.

10.   Nothing in this Consent Decree shall be construed to confer upon the District Court

      jurisdiction to review any final decision made by EPA pursuant to this Consent Decree.

      Nothing in this Consent Decree shall be construed to confer upon the District Court

      jurisdiction to review any issues that are within the exclusive jurisdiction of the United

      States Court of Appeals pursuant to TSCA section 19, 15 U.S.C. § 2618. Nothing in the

      terms of this Consent Decree shall be construed to waive any remedies or defenses the

      Parties may have under TSCA section 19, 15 U.S.C. § 2618, or any other provision of

      law.

11.   The obligations imposed upon EPA under this Consent Decree can only be undertaken

      using appropriated funds and fees furnished in accordance with 15 U.S.C. § 2625(b). No

      provision of this Consent Decree shall be interpreted as or constitute a commitment or

      requirement that EPA obligate or pay funds in contravention of the Anti-Deficiency Act,

      31 U.S.C. § 1341, or any other applicable provision of law.



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12.   If a lapse in EPA appropriations occurs prior to the deadlines in Paragraph 1, the

      deadlines in Paragraph 1 shall be extended automatically one day for each day of the

      lapse in appropriations. Nothing in this Paragraph shall preclude EPA seeking an

      additional extension of time through modification of this Consent Decree pursuant to

      Paragraphs 2–4.

13.   In the event of a dispute between the Parties concerning the interpretation or

      implementation of any aspect of this Consent Decree, the disputing Party shall provide

      the other Parties with a written notice outlining the nature of the dispute and requesting

      informal negotiations. If the Parties cannot reach an agreed-upon resolution within

      twenty (20) business days after receipt of the notice or such other time as the parties may

      agree to, any Party may move the Court to resolve the dispute.

14.   No motion or other proceeding seeking to enforce this Consent Decree or for contempt

      of Court shall be filed except pursuant to the procedure set forth in Paragraph 13.

15.   Any notices required or provided for by this Consent Decree shall be in writing, via

      electronic mail, and sent to the following (or to any new address of counsel as filed and

      listed in the docket of the consolidated actions, at a future date):

             For CIDA Plaintiffs:

             Lakendra Barajas
             lbarajas@earthjustice.org

             Katherine O’Brien
             kobrien@earthjustice.org


             For ACC:

             Byron Brown
             Assistant General Counsel
             American Chemistry Council


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             700 2nd Street, NE
             Washington, DC 20002
             Byron_Brown@americanchemistry.com

             For EPA:

             Susanna W. Blair, PhD
             Special Assistant
             Office of Pollution Prevention and Toxics
             William Jefferson Clinton Building - East, MC7401M
             Washington DC 20460
             202.564.4371 (office) | 202.322.0538 (cell) |
             Blair.susanna@epa.gov

             Sarah Izfar
             United States Department of Justice
             Environment and Natural Resources Division
             Environmental Defense Section
             P.O. Box 7611
             Washington, D.C. 20044
             Tel: (202) 305-0490
             sarah.izfar@usdoj.gov

16.   The Court shall retain jurisdiction to enforce the terms of this Consent Decree and to

      resolve any requests for costs of litigation (including attorneys’ fees).

17.   After EPA has completed all actions set forth in Paragraph 1 of this Consent Decree, and

      the parties have resolved the issue of costs of litigation (including attorneys’ fees), EPA

      may move to have this Consent Decree terminated. Plaintiffs shall have twenty (20) days

      in which to respond to the motion.

18.   It is hereby expressly understood and agreed that this Consent Decree was jointly

      drafted by Plaintiffs and EPA and that any and all rules of construction to the effect that

      ambiguity is construed against the drafting Party shall be inapplicable in any dispute

      concerning the terms, meaning, or interpretation of this Consent Decree.

19.   If for any reason the Court should decline to approve this Consent Decree in the form

      presented, this agreement is voidable at the sole discretion of any Party, and the terms of


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FOR DEFENDANTS
                                     ___/s/ Sarah Izfar_________________
                                     Sarah Izfar
                                     Trial Attorney (DC Bar No. 1017796)
                                     United States Department of Justice
                                     Environmental Defense Section
                                     P.O. Box 7611 (regular mail)
                                     150 M St., NE (overnight)
                                     Washington, D.C. 20044
                                     sarah.izfar@usdoj.gov
                                     (202) 305-0490


                                    Counsel for Defendants



DATED: November 12, 2024




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